      Case 3:19-cv-02487-MMC Document 53 Filed 10/05/21 Page 1 of 2




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15
                         IN THE UNITED STATES DISTRICT COURT
16
17                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
       GINA MERCIERI,
19
                     Plaintiff,                     Case No.: 19-cv-2487 MMC
20
       vs.
21
       METROPOLITAN LIFE INSURANCE                  STIPULATION FOR DISMISSAL OF
22
       COMPANY,                                     ENTIRE ACTION WITH
23                                                  PREJUDICE
                     Defendant.                     [FED. R. CIV. PROC. 41(a)(1)(A)(ii)]
24
25
26
27
28   MERCIERI V. METLIFE, No. 19-cv-2487 MMC
     Stipulation for Dismissal with Prejudice   1
      Case 3:19-cv-02487-MMC Document 53 Filed 10/05/21 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all parties, through
 2   their counsel, hereby stipulate that this entire action is dismissed with prejudice, each
 3   party to bear its own attorney’s fees and costs.
 4          IT IS SO STIPULATED.
 5   Dated: October 5, 2021
 6
 7
                                                 By      /s/ Lisa S. Serebin
 8
                                                         Joseph A. Creitz
 9                                                       Lisa S. Serebin
                                                         Attorneys for Plaintiff Gina Mercieri
10
11
                                            GORDON REES SCULLY MANSUKHANI,
12    Dated: October 5, 2021                LLP
13
                                            By         /s/ Ronald K. Alberts
14                                                    Ronald K. Alberts
15                                                    Attorneys for Defendant
                                                      Metropolitan Life Insurance Company
16
17
18
19
20                                SIGNATURE ATTESTATION

21          The filer hereby attests that she received consent and authority to execute

22   and file from every signatory to this document.

23   Dated: October 5, 2021                              /s/ Lisa S. Serebin
                                                         Lisa S. Serebin
24
25
26
27
28   MERCIERI V. METLIFE, No. 19-cv-2487 MMC
     Stipulation for Dismissal with Prejudice   2
